     Case 2:14-md-02592-EEF-MBN Document 11357-1 Filed 10/30/18 Page 1 of 2


 1 L. Paul Mankin (SBN 264038)
 2 pmankin@paulmankin.com
   LAW OFFICES OF L. Paul Mankin
 3 4655 Cass Street, Suite 410
 4 San Diego, CA 92109
   Telephone: (800) 219-3577
 5 Facsimile: (323) 207-3885
 6 Attorney for Plaintiff
 7                      UNITED STATES DISTRICT COURT
 8                      EASTERN DISTRICT OF LOUISIANA

 9   IN RE: XARELTO
                                                  MDL 2592
10   (RIVAROXABAN)
                                                  SECTION L
11   THIS DOCUMENT RELATES TO:
                                                  JUDGE ELDON E. FALLON
12
     WALTER BLEILER                               MAGISTRATE JUDGE NORTH
13
                                                  CASE NO. 2:18-cv-00327-EEF-MBN
14
15
16   DECLARATION OF L. PAUL MANKIN, ESQ., IN SUPPORT OF MOTION
17      TO VOLUNTARILY DISMISS CERTAIN DEFENDNTS WITHOUT
18        PREJUDICE OR, IN THE ALTERNATIVE, EXTEND TIME FOR
19                                        SERVICE
20            I, L. Paul Mankin, declare under the penalty of perjury as follows:
21 1. I, L. Paul Mankin, and am Plaintiff’s counsel in this case, case number 2:18-cv-
22 00327-EEF-MBN. I submit this declaration in support of Plaintiff’s Motion to
23 Voluntarily Dismiss Certain Defendants Without Prejudice, or, in the alternative,
24 Extend Time to Serve Defendants. I make this declaration based on my personal
25 knowledge, except where otherwise indicated. I submit this Declaration in
26 conjunction with Plaintiff’s opposition papers.
27 2. Due to an office error Defendants Janssen Ortho LLC, Johnson and Johnson,
28 Bayer Pharma AG, Bayer Healthcare AG, Bayer AG, and Bayer Healthcare
     DECLARATION OF L. PAUL MANKIN IN SUPPORT OF PLAINTIFF’S MOTION TO VOLUNTARILY DISMISS
                                       WITHOUT PREJUDICE
      Case 2:14-md-02592-EEF-MBN Document 11357-1 Filed 10/30/18 Page 2 of 2


 1
     Pharmaceuticals, Inc., were not timely served.
 2
     3. On September 21, 2018, my office reached out to Defendants’ Lead and Liaison
 3
     Counsel to alert them that we intended to file the subject motion to dismiss certain
 4
     defendants. My office additionally asked if they would be willing to stipulate to
 5
     dismiss those defendants.
 6
     4. As part of that initial e-mail my office additionally inquired as to whether
 7
     Defendants would be willing to stipulate to extend the time limit for service to be
 8
     completed.
 9
     5. As of October 30, 2018, my office has not received a response from Defendants’
10
     Lead and Liaison Counsel as to our intention to move to dismiss certain defendants.
11
     6. After providing notice to the Defendants’ Lead and Liaison Counsel that we
12
     intended to dismiss this matter without prejudice my office waited the required
13
     fourteen days prior to filing this motion.
14
      I, L. Paul Mankin, declare under penalty of perjury under the laws of the United
15
     States of America and the laws of California and Louisiana, that the foregoing is true
16
     and correct and based on my personal knowledge except as otherwise indicated.
17
18
     Executed this 30th day of October, 2018 at San Diego, CA.
19
20
21
                                 By: _/s/ L. Paul Mankin
22
                                       L. Paul Mankin
23
                                       Attorney for Plaintiff
24
25
26
27
28
     DECLARATION OF L. PAUL MANKIN IN SUPPORT OF PLAINTIFF’S MOTION TO VOLUNTARILY DISMISS
                                       WITHOUT PREJUDICE
